         Case 13-10489      Doc 68-2THEFiled 04/01/19
                                        UNITED          Entered 04/01/19
                                               STATES BANKRUPTCY   COURT10:43:32         Desc Proposed
                                             Order    Page 1 of 1
                                     FOR THE EASTERN DISTRICT OF TEXAS
                                               BEAUMONT DIVISION


JOHN H. CORBIN XXX-XX-1023                                      § CASE NUMBER: 13-10489
7640 TRAM RD                                                    §
BEAUMONT, TX 77713
                                                                § CHAPTER 13
LOUBERTHA CORBIN XXX-XX-1946                                    §
7640 TRAM RD                                                    §
BEAUMONT, TX 77713                                              §
DEBTORS
                            ORDER DISCHARGING CHAPTER 13 TRUSTEE
                                AND CLOSING CHAPTER 13 CASE

   Upon the filing of the Chapter 13 Trustee’s certification that the above-referenced Chapter 13 case has
been fully administered and upon request to be discharged of the duties as trustee for this particular estate, the
Court finds that just cause exists for the entry of the following order.

   IT IS THEREFORE ORDERED that Carey Ebert is hereby DISCHARGED of all duties as the
duly-appointed Trustee of the Chapter 13 bankruptcy estate created in the above-referenced case.

   IT IS FURTHER ORDERED that the above-referenced Chapter 13 case is hereby CLOSED.
